Case 1:21-mj-00198-GMH *SEALED* Document 2-2 (Court only) Filed 02/03/21 Page 1 of
1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America } ee
Er cy con
. ssigneéd to: Judge Harvey, G. Michae
Tristan Chandler Stevens )- Assign Date: 3/3/2021 y a
Description: COMPLAINT WIARREST WARRANT
)
Date of Birth: 12/20/1995 )

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the Districtof | Columbia, the defendant(s) violated:

 

Code Section Offense Deseription

118 U.S.C. § 111(b) - Assaulting, resisting, or impeding certain officers or employees;
18 U.S.C. § 231(a)(3) - Civil Disorder;

18 U.S.C. § 1752(a} & (b) - Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2) - Violent Entry or Disorderly Conduct

This criminal complaint is based on these facts:

See attached statement of facts.

MM Continued on the attached sheet.

 

Complainant's signature

Steven A. Weatherhead, Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim, P, 4.1

Digitally signed by G.
by telephone. Soucy ¥

Michael Harvey
Date: 2021.02.03
12:53:34 -05'00'
Judge's signature

  

Date: 02/03/2021

 

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed naine and title

 

 
Case 1:21-mj-00198-GMH *SEALED* Document 2-4 (Court only) Filed 02/03/21 Page 1 of
: 2

i

AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America
V. } Case: 1:21-mj-00198
. ) Assigned to: Judge Harvey, G. Michael
Tristan Chandler Stevens ) _ Assign Date: 2/3/2021
) Description: COMPLAINT W/ARREST WARRANT
}
}
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Tristan Chandier Stevens ,

who is accused of an offense or violation based on the following document filed with the court:

Indictment  Superseding Indictment Ol information (© Superseding Information J Complaint
Probation Violation Petition [J Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

118 U.S.C. § 111(b) - Assaulting, resisting, or impeding certain officers or employees;
18 U.S.C. § 231(a)(3) - Civil Disorder;

18 U.S.C. § 1752(a) & (b) - Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2) - Violent Entry or Disorderly Conduct Digitally signed by G.
Michael Harvey
Date: 2021.02.03

 

 

 

 

 

 

 

Date: 02/03/2021 12:52:16 -05'00"
Issuing officer’s signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date)

at (city and state)

 

Date:

 

Arresting officer’s signature

 

Printed name and title

 

 

 
Case 1:21-mj-00198-GMH *SEALED* Document 2-4 (Court only) Filed 02/03/21 Page 2 of
' 2

1

AO 442 (Rev. 1H/1D Arrest Warrant (Page 2)

 

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender: Tristan Chandler Stevens

Known aliases:

 

Last known residence: 5411 Saufley Field Rd, Pensacola, FL 32526

 

Prior addresses to which defendant/offender may still have ties:

 

 

 

Last known employment:

 

Last known telephone numbers: 904-457-1911
Place of birth:

 

Date of birth: 12/20/1995
Social Security number: 593-537-2361
Height: Weight:

 

Sex: M Race: White
Hair; Black Eyes: Brown

 

 

 

Scars, tattoos, other distinguishing marks:

 

 

 

History of violence, weapons, drug use:

 

 

 

Known family, friends, and other associates (name, relation, address, phone number):

 

FBI number:

 

Complete description of auto:

 

 

Federal Bureau of Investigation WFO

 

Investigative agency:
Investigative agency address: 661 4th St NW Washington, D.C. 20009
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable}.

 

 

Date of last contact with pretrial services or probation officer (if applicable):

 

 

 
Case 1:21-mj-00198-GMH *SEALED* Document 2 (Court only)

UNITED STATES MAGISTRATE JUDGE
U.S. DISTRICT COURT BUILDING

WASHINGTON, D.C.

PLEASE ISSUE: ARREST WARRANT

warrant for: Tristan Chandler Stevens

DOB: 12/20/1995

Violation:

 

 

xX

 

 

US.C.

 

 

 

 

PDID:

D.C.C,

Filed 02/03/21 Page i of1

Charges: 118 U.S.C. § 111(b) - Assaulting, resisting, or impeding certain officers or employees;

18 U.S.C. § 231(a)Q) - Civil Disorder;
18 U.S.C. § 1752(a) & (b) - Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2) - Violent Entry or Disorderly Conduct

/s/Melissa Jackson
Assistant United States Attorney
Phone: (202) 252-7786

Email: Melissa Jackson@usdoj.gov

Bond:

 

COMPLETE FOR ALL ARREST WARRANTS:

Date: 2/3/2021

The following information must be provided for ALL arrest warrants and an original
and duplicate of this form must be submitted to the Clerk's Office with the warrant

papers.

Officer/Agent Title: Special Agent
21786

Badge Number:

Agency / Unit:

Officer/Agent Name: Steven A, Weatherhead

 

Federal Bureau of Investigation WFO

Agent / Officer 24hr Telephone number: — (202) 684-5773

 
Case 1:21-mj-00198-GMH *SEALED* Document 2-1 (Court only) Filed 02/03/21 Page 1 of
Loa 1

Date: 2/3/2021

MAGISTRATE JUDGE COVER SHEET

Case: 1:21-nj-00198

Assigned to: Judge Harvey, G. Michael

Assign Data: 2/3/2021 —_
Description: COMPLAINT WIARREST WARRANT

(THIS SECTION TO BE COMPLETED BY THE U.S. ATTORNEY’S OFFICE ONLY)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendant #1 Tristan Chandler Stevens Defendant #2
DOB: 12/20/1995 DOB:

PDID: PDID:

REG. NUM.: REG. NUM.:
Defedant #3 Defendant #4
DOB: DOB:

PDID: PDID:

REG. NUM:: REG, NUM.:
Defendant #5: Defendant #6
DOB: DOB:

PDID: PDID:

REG, NUM:: REG. NUM.:
Defendant #7: Defendant #8
DOB: DOB:

PDID: PDID:

REG, NUM.: REG, NUM.:
Defendant #9: Defendant #10
DOB: DOB:

PDID: PDID: REG.
REG, NUM.: NUM::

 

 

Complaint in violation of: 118 USS.C. 8 111(b) - Assaulting, resisting, or impeding certain officers or

employees;

(U.S. Code and charges) 18 U.S.C. § 231{a)(3) - Civil Disorder;

18 U.S.C. § 1752(a) & (b) - Restricted Building or Grounds,
40 US.C. § 5104(e)(2) - Violent Entry or Disorderly Conduct

a

 

 

 

 

 

COVER SHEET
TAPE: MAGISTRATE JUDGE:
LINES: SAUSA:
INDIGENCY: CIA APPOINTMENT: ATTY:
P.H.
PR CAUTION: LITERATE: BOND:

 
